Case 5:21-cv-00971-JD Document 1-3 Filed 09/28/21 Page 1 of 59




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                          iffidt{ret                                                                                                                                                4:*V*
      37ffi               U*a              8a     gt H twa b rffiq         lE   *, tur6d       b   kt   frc   rt*t *7 14''8at8                        t*             k48t,          1*t7.
i   yz . 8t   1   r.*t   taa&a4 tteet4.rteAr,i1rUl,\'1*rt                                                                                                                                        ffi
    1Zr2/8&                       Case 5:21-cv-00971-JD
                                             Qcf&rt R - ?ArffiEl, Document      reTWFiled
                                                                  ni'#lnc X*M -1-3          97 41 : f d hW
                                                                                      lW-109/28/21       Page   7 oft 6"5,A
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                     gsrcaairy-       *ffiew,               -   d(Wd Wiq                   n*y   *   tf4ind',t                                           ,1t8ta        M
                     Msf6r*{ltl
      3722a          *re              *a yw t         y& slW dl*W                     refr. e   W prc#c, a**?                                   hb       W,            19.17-
                     Efisffftg-                                                                                                                          tw            ffi
                     )ffirwt                                                                                                                                           4#?ti,
      37u8 A*t                             b yus xr'',.t$* W ewy W*x*. il W #&'{M x                                                             &        *r*s,         1*17-
                     Wtq.             "{w
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                     ,ffiafl&,                                                                                                                                         4"*Aw
      37?a6          WA               l**     yat axru*y        WA           v*ws     { tfui M &wr x* @ *ll yaq                                 ,s        Ww.          a*17.
                     9mrr*q-          fr#E ** )M rffit Mvwt,\&;EUAT&Y*'                                                                                   ,<NA         we
                     ,Mt&t                                                                                                                                             4:*pm
      3?'2ffi        ,w,              M#*V?s4qr#t*ry'i{,f*uryffirld'ilr''*effie                                                             s t#          0at*dl6,     t0-t7-
                     tcllat*-tg.      # rnralr? -A trs, 4.A*. 6a EltffiDE WAT&4 *&l#MTftl{-                                                               Krffi        2g6
                     ,ffi)&1                                                                                                                                           4'e8Crt
      ifum **                         It'w gt rw{ry W ut t@*a'f,st                                   se hsd   * rwtl t ryse      at    fts tb             Aoerd,tct,   7*tt7-
                     *t*rg"           Wwa@rlWWd87                                                                                                         ,1tW         M
                     *ffidldrddtt                                                                                                                                      4:48Frr

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                     w;
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                     )ffir1ffi                                                                                                                                         4:48Vn
      t7%3           tu
                     tus*q"
                                      $   p    b   q&a           lQ,   *   frw   Me s*( l+n eg6 & 8s a gtqa- h*                   **            ,*        D*t6*,
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                     ,daxdttrc'&l                                                                                                                                      4:a8lrrtt
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                                               o   q*Em          1r,   { g, W            ga5f,en #       a   uww!'tu q                          t{o       Ms,
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                     +rWdrWr                                                                                                                                           4:1D7rl
      3:rzm          *.b              lfu      ycla   eqs   W                h rtxrt    pt#f? ll 94 #n *4 rw?                                   ,b        Mw"          1*17.
                     *s*g-                                                                                                                                l<ttu        w9
                     )Mh&l                                                                                                                                             {,t40rralt

      37utr          tue,             l&n pt xw             wr     a    ssz&t b+&t         y@         * *M s nw*d                               \w{{xib.Ml W*x,        t*'t7-
                            *eryeMl "'6 p, te
                     fgrc'tue-                                                        *'rat   *4 dee, tt frs, et"l*tfret" W                               6&b          M
                     wdrl&t WVt***nt'?,t*&*                                                                                                                            4:4?m
      t7w            txgrr            6 ya* b      qwb tL?rcf                    }*att {t tte   &    z 7ax*?                                    lsa       W*,          1t    1V-
                    WV-                                                                                                                                   t1,,6&       zffi
                    ,tu&*Wh                                                                                                                                            4:&gm
      37'2ffi       W.                ,*ra W *ix Wt                    @aW tx lrxn&                    *3'b1'#ggf,t? g 1'F.,   *M lW            ,&        Aa*w,
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                     $*raall&q-       sd*t?
                    ,,tFl,f*dttcdlt                                                                                                                                    4*E*m
      37n&           w#    ,& y*t *t o"&
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            *a6er- n t* W
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            Sra'*drW Wt*u*8*zfmrrd,rrr.'u                                              ,"eM,                    4:4W
      3n22n w,             Da W rryc t?&M&, t*Mr         6 hfrM *n&*t * W tM re l*                   Drrrrlrc." t*17
            fm*nhtg-       ?7&ulgls*ry*z*trmWsM2                                                                NE                                        l1,l'gfg*
                    |,fordll&t                                                                                                                                         *.44w
      gTffi          LeJt:^           b W e&u6! M W *stwra w aq@ yu,c mW uy yffiW                                                               t&        Mw"          1*'.t7-
                    tue**.            W W y'rl,x M s l*@ tur*e od 6 1o16 W?                                                                               rtut         M
          tffirwt                                                                                                                                                      4:4$gn
      t7w Wa                          Do'*,t f',uw#y * 88                    ew **              *tw grt tw4?ti ud an M                  yotfi   tb        orygdts,r,   1*17
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                    Wq-               fii{*t                                                                                                              ,<rbh
                    wr,wt                                                                                                                                              1:fifi
      ?Tm           w
                    @"
                                      llm pt *z e &n d mw$ &,#c n t* M 6 iry? -"?l'p* *'
                                      I W *fi l*a a r*tutd w $w&, bal&f "
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      &ne ,r#3                        fu* x*tl Wr                      b   * 4" ffie. W            t#'\             Mrrq         d              t*g       Ws,          t*17.
                    er#$4-            *gttt7**r8ddt8(                      {r,arflt *tgqt t&tb@lalspg                   a *ty   urw*uai                   ,<rw         xt&
                    rktd.{b&r M{?                                                                                                                                      1:16pra
      377m          Wer;l             l**a fw uw            W          *r?&&ts * ss*d &aw?                                                      sk        Mw"           i*17"
                    Scrrs*t-                                                                                                                              ,<tbb        wito
                    ;ffir1tddr                                                                                                                                         1:16ym
      ?7r?&         he
                    W*n-
                                      ,e yoc.x grtffi x ffiy t#&gre7dt
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                    lffixettl                                                                                                                                          1:&ga
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                    $crlpn q-
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                                                   crrrerdy fod        lt*   yei; trz'v* lo   dl q nrlrre tttqlc My tte'        y'crt           ttb        oerprlnal
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1   921fr.,   t   ffi 2*tr1&th,E*tMwv.rAw                                                                                                                                           ffi
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                          Case 5:21-cv-00971-JD                          Filed 09/28/21 Page 8 of 59
             t €ntsllle#t                                                                                                                                       1:189m

  37W        w
             *ae**"
                               It* pa aror*lr*y
                              4*&t&telorotr
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             ;*ndtdi&r                                                                                                                                          4:,18rra
  tnw        Hfu              t&e yar leea a#ad@s                                anriUrn'd&t*i^ta$e5Ws? *ry ls                                     W,           1*17-
             Ssrrrfig-        W, *, W9 8 *ry ffi* *a a tM                                b tr*!r/"     ffir*                                       ,(e          ffi
             ,,'/6,t&eh                                                                                                                                         1:&*r*
  3W         h6lc             b M re         c'n ffi gt tnd ffiia& Wq d b 8,y #1                                                     ttu           Otrtthdr.    t*t7-
             W&e-             d#l Fa'tr/u7at" ltu $r€f* p * tu           wryt * * $wW,                                                             tttM:        zffi
             )eex{cf,tldlh    tffiu@yMGx6W'                     ',I{*',l                                                                                        4.18*n
  lt1wfi htrh                 Do.Bft.fdll{ W*#tw**r,wu'?                                                                             ab            D*rds,       t*17.
             Snae*ry:                                                                                                                              t<t&         M
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  tnffi ,w   ''fddtitdh       fu W j*t; Jqarl* aiglx,u? * p,                        xa     Fan   a m&$ua? l&                         l{o           Mx,
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             )M,aet                                                                                                                                             4*g{t
  t7m        w,
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                              ,** w e &!gw* *w4 *                               x       &4&             o*s       e # 6 n&a2         ,h            orrrd,w,
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             We*q-                                                                                                                   Conffin       f#           2010
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  3;r?8ffi   ffi*             l*ts      ycl.t   uw     b*'at    We     rt Hr   tnr&l          rtlrra   W *n &f          elN    orw   nb            W,           1*tv
             8r;orrl*>g-      W?                                                                                                                   tghb         ffi
             F{?EAfre'f,                                                                                                                                        4218go-
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             Aea*rrrreqf
  37Ue       hak              l*rw      gt wa *waM s M                         *sw tr**t st ffiM                         #*p   w     Irb           W#,          1*17-
             8{'E.r*rg-       #t                                                                                                                   ,<ffi.       N&
             ?8f,A***                                                                                                                                           4'.4*,2
             Itpgp#tx'*
  3T7W       *Aa              Dgfi i?r}'b         *F*u b lanu s tryl                a                M$, 6 dp.trynf''fit             l{o           Ww,           t*t7-
             *w*Ua.           *td&tt                                                    ''/s,&,,                                                   $e           zffi
             TnE A*,                                                                                                                                            4:tlE'rrr
             Awt#*
  3?n&       tr*
             *s*q-
                              {l*ta yx          wt W, a'y&* d *xtd et*                          bt   dtwt a       ffi                 l{o          Wg
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             PRFInfl(                                                                                                                                           4:&ffa
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             Wux4-                                                                                                                                  l(rHr        e2*
             #ffAX'*                                                                                                                                             4;4&fin
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  3??ffi     6**              *anqr*dWi,ItyMeflel ** *W*ltwttgJnrtr sfikt WW                                                          lle           Ww,          1&.17-
             g*$rr*g-         $A rntx*? f s *grxrler; & lltst 5" *8s & uw t& fis*?                                                                  W            w&
             *EAXh''.                                                                                                                                            41,,8si'/t
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  372ZBr)    Ws               *    &d   W M, &rfr ft) lsta             baa.,   qteatwa*?                                              Xo            W*.          t*t     .
             Csrcr$ng.                                                                                                                              *&           *&
             flXEAroF*,                                                                                                                                          4i&frt
      wraa
  37m Wr                      la   tvl;r*$a r:trW l*My s*&tffiy rwrM?                                                                 Yrs           Mw           wt7.
           - €artorlrlo                                                                                                                             ft&          m9
             wfiAF'',I                                                                                                                                           4#ga
             M
  i7z& **&                    ?st   ycxt   gq*e\                A**.d, bsrrye, furw x gudg aa*                                        t{o           Ws,          "r*17.
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          fuGs*rg-     ffi4                                                                                                                         tltHa
1rZ1*,t&2Wlffi.Aa$rytsgr*sWY.M                                                                                                                                                w
 ntlm                    Case 5:21-cv-00971-JD Document 1-3 Filed 09/28/21 Page 9 of 59
              Pfr*ARbL
             ,twrgl*
    17w      *iat              fu W         h*ra rltdtl, 8     y*   ertr?.tus fu *x   &re qdt*l a i#          ib          Drcrtdxr.,   1*17.
             Sonahg-           t4*l                                                                                       Xtldr'       wnb
             PfiEAfrT                                                                                                                  1:&#
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             PREAS*                                                                                                                    4:{61rn
             ,gc'dt;,
    $m       ?*oaqJo*          l&wgt**rtcldnd3rl6itn?ttus&*ta"rfi                                             I'lg        ffiia,       1*t7-
             Ssrmtl                                                                                                       l<rie        ffi
             WI                                                                                                                        4:1Eg*
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    a7w      fgbredo* t*o,pt ew
             gcnr$g
                                             *1    tgdf,       fu( ,&TWE   Tr**'e&eic?                        )ra         Eglgfg',     to-17.
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             A',,{trffi'df*                                                                                                            4:18rrh
   ww        Tt                fi Ya, o16 yan anrryir*   ffi        q   llw*?                                 NA          W*t,         IU17-
             Scnaug                                                                                                       t(tu         zffi
             Qrrdoilr*tc                                                                                                               4:$m
   9nE8      TIMM              g@ew$ffi,t1sfla**n2tdr*?                                                       Irb         Ws,          t*t7-
             Seamnf                                                                                                       xtu          M
             Orldo*iCfa                                                                                                                *nW
   {t'1ffi ?itrcstB         tlt*tWlWt?                                                                        |&          W*,          t*17,
             Wq                                                                                                           t$tu         M
             *#frp,ygiF,                                                                                                               4#rltt
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             $cilr**                                                                                                      tkrtr'       ffi
             Wg                                                                                                                        1:&trn
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  Exem Fogrlg.

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      tsdw:V                                                                                                                                                       wp,t
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       -2t*r        '4,,ptts(J,                    lwwwz*rwu$eh                         evqt#*'s&t           U   e*saw &AWW*                     rFef,+             w4          w8tg,
      *4f,,>v                                                                                                                                                      w
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         w,            Wrl                                                                                    4*md 4*gw tt& ,g *t*l*                          -&a*ry
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      *6*t:,                                                                                    wr:eww*ltx*xgw                                                  wra
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         v.&           Wtt                                                wnt Wt'faw**q,'@&WW**ryt                                                            -*firy
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      tew?                                                                                                                                                        Fqws
         w&              Gt*t,+                                                                                                       L*',Ffi'.tt             -AnryrysA
        -,J49       'e#t4                                                   **                              fu* &$ar &ur&c*t lt4l;d              W.,                {w4        &a,zg,
      &*:t                                                                                                                                                        wra
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         v.e           sgt,                                                                          tdryd*'m"tg}$W                                           '&ryrsas
        -tt4a       '8#8C                                             (gwl*ax                  q*wWtbtw4tryw*r**q1                                                  f''4n      8W,2e
      tgdgY",                                                                                   lW*ltryntryqg.*sW                                                 W'l
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      ,ttd   g,:t                                                                       furyqd?*'t'wvdftWew'*fW                                                   wa
         w,              wt                                                                   eqrficxs' xe*t
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      wdyt:V                                                                                                                                                      Fl9g'a
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        -&*t        'wvetrc                                                  qd        tgw           n We q s* V&* q *S*t, f*t(                                   qg|q         wtc
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         Case 5:21-cv-00971-JD Document 1-3 Filed 09/28/21 Page 33 of 59
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